                 UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         EASTERN DIVISION
                   Civil Action No.: 4:18-cv-137-BO

JOHN DOE,                    )
                             )
     Plaintiff,              )
                             )     MEMORANDUM IN
     v.                      ) OPPOSITION TO PLAINTIFF’S
                             )    MOTION TO PROCEED
EAST CAROLINA UNIVERSITY, et )      ANONYMOUSLY
al.,                         )
                             )
     Defendants.             )

      COMES NOW Defendant East Carolina University (“ECU” or

“Defendant”), by and through undersigned counsel, and respectfully submits

the following Memorandum in Opposition to Plaintiff’s Motion to Proceed

Anonymously [DE 6].

                         NATURE OF THE CASE

      Plaintiff, who was an ECU graduate student at all times relevant to this

action, has filed claims against Defendants in connection with a student

disciplinary proceeding undertaken by ECU, brought pursuant to allegations

by Jane Roe, another ECU student, that Defendant raped her in her off-

campus home. Plaintiff was found responsible for violating ECU’s sexual

misconduct policy and sanctioned with suspension for six (6) semesters.

Plaintiff seeks relief pursuant to: (1) Title IX of the Education Amendments of

1972, 20 U.S.C. §§ 1681 et seq., for reverse discrimination, alleging that an



       Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 1 of 24
erroneous outcome in his disciplinary hearing was caused by discrimination on

the basis of sex; (2) 42 U.S.C. § 1983, alleging that Defendants deprived him of

his constitutional due process rights; and (3) breach of contract, alleging that

ECU failed to follow procedures set forth in its written policies.

      On August 9, 2018, Plaintiff filed this lawsuit using a pseudonym, “John

Doe,” and submitted a contemporaneous Motion to Proceed Anonymously [DE

6], Declaration of Kara L. Gorycki, Esq. in Support [DE 7], and a Memorandum

of Law in Support [DE 8], later submitting a proposed order that would have

placed all of the pleadings filed before that date under seal [DE 12]. On August

23, 2018, this Court issued an order provisionally granting Plaintiff’s Motion

and allowing Plaintiff to proceed anonymously, while reserving a final ruling

until opposing parties had the opportunity to appear and state their position.

(DE 13). Defendant ECU opposes the motion, for the reasons discussed herein.

                   STATEMENT OF RELEVANT FACTS

      On November 21, 2015, a female undergraduate ECU student identified

as “Jane Roe” in this action reported to the Greenville Police Department and

to the ECU Title IX office that Plaintiff had raped her during a party in the

early morning hours of that day, in an upstairs bathroom in her home. (Compl.,

DE 1, ¶ 75). She also went to the hospital for a sexual assault examination,

where a rape kit was collected. (See id. ¶ 77).




                                        2
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 2 of 24
4812-2876-1209, v. 6
      By the time of Jane Roe’s official reports to police and the university,

Plaintiff was already aware of her allegations. Shortly after the encounter with

Plaintiff, Jane Roe told roommate and mutual friend M.K., as well as at least

one other attendee at the party, that Plaintiff had raped her. (Id. ¶ 74). M.K.

called Plaintiff shortly after he left the house to confront him about Jane Roe’s

allegations. (Id. ¶ 74). Another party attendee contacted Plaintiff to call him a

“monster” for what he did to Complainant. (Id.) In fact, on November 21, 2015,

Plaintiff called his mother and drove back to his hometown to consult with an

attorney about Complainant’s allegations. (Id. ¶ 75). During the evening hours

of November 21, 2015, while Plaintiff was consulting with his attorney,

Detective Coggins of the Greenville Police Department called to discuss the

report and spoke with Plaintiff’s attorney, who arranged that Plaintiff be

interviewed only in the presence of his attorney and after the Thanksgiving

holiday. (Id. ¶¶ 75-76). Plaintiff was arrested on December 9, 2015. (Id. ¶ 77).

      As a result of the police investigation, on April 7, 2016, Plaintiff was

criminally charged, after a grand jury returned an indictment for second

degree rape, sexual offense, and second degree sexual offense. (Aff., DE 43-2 ¶

11; see Ex. C, “Indictment,” DE 43-2 at 16). These felony charges were

dismissed pursuant to entry of a nolo contendere plea to the misdemeanor

offense of assault on a female. (DE 43-2 ¶ 11; see Ex. C, “Transcript of Plea,”

DE 43-2 at 21-24). In turn, entry of judgment against Defendant for the


                                       3
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 3 of 24
4812-2876-1209, v. 6
misdemeanor offense was deferred through a conditional discharge agreement.

(DE 43-2 ¶¶ 11-12; see Ex. C, “Conditional Discharge Under G.S. 15A-

1341(a4),” DE 43-2 at 25-26). This conditional discharge, entered June 6, 2017,

originally required Plaintiff to complete 18 months of supervised probation and

60 hours of community service, to refrain from assaulting, harassing, or

contacting Jane Roe, and to undergo a sex offender evaluation, to be reviewed

on December 5, 2018, for compliance. (Id.) However, on August 21, 2018,

Plaintiff obtained an Order stating that he had fulfilled all of these conditions

and dismissing the charges pursuant to the conditional discharge agreement,

releasing him from probation six months early. (DE 43-2 ¶ 12; see Ex. C,

“Disposition/Modification of Conditional Discharge,” DE 43-2 at 28-29).1

      The student conduct process at ECU proceeded concurrently with the

criminal investigation. In meetings with ECU administrators during the

student conduct process and at the student conduct hearing, Plaintiff refused

to provide information or testify about the incident from his perspective, due

to the pending criminal charges. (See DE 1 ¶¶ 89, 113-15). Jane Roe and M.K.

testified at the student conduct hearing, and other witnesses were interviewed,

both “informal[ly]” by ECU’s Title IX investigator and in the criminal




1Upon successful completion of conditions imposed pursuant to N.C. Gen. Stat. § 15A-
1341(a4), the plea of guilty previously entered is withdrawn and the proceedings
against the person dismissed. N.C. Gen. Stat. § 15A-1341(a6) (2018).

                                         4
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 4 of 24
4812-2876-1209, v. 6
investigation, and provided written statements for the hearing panel to review.

(Id. ¶¶ 157-58, 163, 171(iv)). Plaintiff’s student conduct hearing took place on

May 27, 2016, where he was found responsible for sexual assault and

endangerment, and sanctioned with six semesters of suspension. (Id. ¶¶ 162,

165).

        As of the beginning of the 2015-2016 academic year, Plaintiff had

completed his undergraduate education at ECU and was a graduate student

in the Masters of Criminal Justice program. (Id. ¶¶ 69-70). Plaintiff alleges

that a local newspaper and two local television news channels covered the

allegations against him in news stories on or about December 10, 2015. (See

id. ¶ 97). Plaintiff has not alleged or demonstrated any other media attention

to his case.

                            LEGAL ARGUMENT

        Plaintiff’s Motion to Proceed Anonymously should be denied because

Plaintiff has not demonstrated that his is an exceptional case of a substantial

privacy right sufficient to overcome the constitutional presumption of judicial

openness. It is well-established that there is a “constitutionally-embedded

presumption of openness in judicial proceedings,” which “is well grounded in

our nation’s laws.” Doe v. Alger, 317 F.R.D. 37, 39 (W.D. Va. 2016) (quoting Doe

v. Pittsylvania Cty., Va., 844 F. Supp. 2d 724, 727 (W.D. Va. 2012) (quoting Doe

v. Frank, 951 F.2d 320, 323 (11th Cir. 1992))). “Courts have long held that the


                                       5
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 5 of 24
4812-2876-1209, v. 6
First Amendment protections of freedom of speech and press safeguard the

public's right to attend trials, which must be ‘open to the public absent an

overriding and clearly articulated interest to the contrary.’ ” Id. (quoting Doe 1

v. Merten, 219 F.R.D. 387, 390-91 (E.D. Va. 2004). As noted by other courts,

“anonymity is not contemplated by the Federal Rules of Civil Procedure.” Id.

Rather, Rule 10(a) provides that “[t]he title of the complaint must name all the

parties.” Id. (quoting Fed. R. Civ. P. 10(a)). The purpose of this rule “is to

‘apprise the parties of their opponents and to protect the public’s legitimate

interest in knowing all the facts and events surrounding court proceedings.’”

Id. (quoting Pittsylvania Cty., 844 F. Supp. 2d at 727 (quoting Doe v. Hallock,

119 F.R.D. 640, 643 n. 1 (S.D. Miss. 1987))).

 I.   PLAINTIFF HAS NOT OVERCOME THE PRESUMPTION OF
      OPENNESS SUFFICIENT TO JUSTIFY HIS REQUEST TO PROCEED
      ANONYMOUSLY.

      To determine whether a plaintiff’s request to proceed anonymously

outweighs the well-established presumption of judicial openness, a plaintiff

must demonstrate “a substantial privacy right.” Doe v. Alger, 317 F.R.D. at 39.

“It is the exceptional case in which a plaintiff may proceed under a fictitious

name.” Frank, 951 F.2d at 322. “Trial is a public event. What transpires in the

court room is public property.” Craig v. Harney, 331 U.S. 367, 374 (1947).

      The Fourth Circuit has ruled that factors considered in whether to allow

a party to proceed anonymously include:


                                        6
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 6 of 24
4812-2876-1209, v. 6
      (1) whether the justification asserted by the requesting party to
      proceed anonymously is merely to avoid the annoyance and
      criticism that may attend any litigation or is to preserve privacy in
      a matter of sensitive and highly personal nature;

      (2) whether identification poses a risk of retaliatory physical or
      mental harm to the requesting party or even more critically, to
      innocent non-parties;

      (3) the ages of the persons whose privacy interests are sought to be
      protected;

      (4) whether the action is against a governmental or private party;
      and relatedly

      (5) the risk of unfairness to the opposing party from allowing an
      action against it to proceed anonymously.

Merten, 219 F.R.D. at 391-92 (quoting James v. Jacobson, 6 F.3d 233, 238 (4th

Cir. 1993)). The decision whether to allow a plaintiff to proceed anonymously

is a discretionary determination to be made by the trial court based on these

factors, which are not intended to be exhaustive. Id. When these factors are

reviewed, Plaintiff’s showing is insufficient to justify his case as “exceptional.”

         A. Plaintiff’s claimed privacy interests do not support proceeding
            anonymously in this case.

      Plaintiff argues that the fact that this lawsuit concerns allegations of

sexual misconduct against him inherently presents issues of a “highly sensitive

and personal nature.” (DE 5 at 5). “However, courts have generally been

reluctant to provide anonymity based on a plaintiff's potential embarrassment,

even if the case involves sexual assault.” Doe v. N. Carolina Central Univ., No.

1:98CV01095, 1999 WL 1939248, at *2 (M.D.N.C. 1999) (denying anonymity to


                                        7
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 7 of 24
4812-2876-1209, v. 6
female plaintiff claiming rape by a professor) (citing Luckett v. Beaudet, 21 F.

Supp. 2d 1029, 1029-30 (D. Minn. 1998) (denying anonymity to female plaintiff

claiming sexual discrimination and coercion in a lawsuit against her former

landlord); Doe v. Bell Atl. Bus. Sys. Servs., Inc., 162 F.R.D. 418 (D. Mass. 1995)

(denying anonymity to female plaintiff alleging sexual assault and resulting

HIV transmission by defendant); Doe v. Shakur, 164 F.R.D. 359, 362 (S.D.N.Y.

1996) (denying anonymity to female plaintiff suing Tupac Shakur for sexual

assault); Doe v. Univ. of Rhode Island, No. 93-0560B, 1993 WL 667341 (D.R.I.

1993) (refusing to let the student plaintiff use a pseudonym in a suit claiming

the university's negligence caused the sexual assault of the plaintiff, where she

had been publicly named in a related case)). In many of these cases, female

plaintiffs alleged that they were victims of sexual harassment or assault, but

were denied anonymity. Many courts have held that fear of humiliation and

embarrassment or the threat of economic harm, standing alone, is not a

sufficient reason to grant a motion to proceed pseudonymously. Pittsylvania

Cty., Va., 844 F. Supp. 2d at 733 (citing Doe v. Frank, 951 F.2d 320, 324 (11th

Cir. 1992); Qualls v. Rumsfeld, 228 F.R.D. 8, 12 (D.D.C. 2005); Doe v. Shakur,

164 F.R.D. 359, 362 (S.D.N.Y. 1996)).

      While Plaintiff cites several cases involving similar claims where

plaintiffs have been permitted to proceed anonymously,                many are

distinguishable. In some cases cited, no opposition appears to have been raised


                                        8
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 8 of 24
4812-2876-1209, v. 6
to the plaintiff’s proceeding anonymously. See Doe v. Univ. of Mass.-Amherst,

14-30143-MGM, 2015 WL 4306521 (D. Mass. 2015) (university consented), Doe

v. Washington & Lee Univ. No. 6:14-CV-00052, 2015 WL 4647996 (W.D. Va.

2015) (no opposition to plaintiff’s motion to use pseudonym appearing in

docket). In other cases cited, the issue of plaintiffs proceeding anonymously

does not appear to be addressed. See Doe v. Univ. of S. Florida Bd. of Trs., No.

8:15-cv-682-T-30EAJ, 2015 WL 3453753 (M.D. Fla. May 29, 2015) (no

consideration at all of whether plaintiff should proceed anonymously

appearing in docket); Doe v. Salisbury Univ., 107 F. Supp. 3d 481 (D. Md. 2015)

(action where plaintiff allowed to proceed anonymously and university

employees also identified as John Does). Beyond these cases, where the issue

of whether a plaintiff should proceed anonymously is not addressed on the

merits, the cases cited by Plaintiff are distinguishable for other reasons.

      Plaintiff also stands in a different position to many of the students in the

cases cited by Plaintiff as similar. With one exception, the cases cited by

Plaintiff do not refer to public criminal proceedings, and the plaintiffs’




                                        9
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 9 of 24
4812-2876-1209, v. 6
identities had been maintained as confidential in the university proceedings.2

As a result, almost all of the plaintiffs in the cases cited by Plaintiff faced public

disclosure for the first time, should they not be permitted to proceed

anonymously, and the courts focused heavily on reputational harm. In

contrast, Plaintiff’s identity has already been disclosed as part of criminal

proceedings that may be accessed in a public court file. As such, should this

court decline to allow Plaintiff to proceed anonymously, it would not result in

the first disclosure of his identity in connection with Jane Roe’s allegations of

sexual assault.

      In Doe v. University of St. Thomas, No. 16-cv-1127-ADM-KMM, 2016 WL

9307609 (D. Minn. 2016), if allowed to proceed anonymously, the moving

plaintiff faced only the “reputational harm he complains of from the

University's currently confidential disciplinary proceedings.” 2016 WL

9307609, at *2. Similarly, the opinions in Doe v. Colgate University, No. 5:15-

cv-1069, 2016 WL 1448829 (N.D.N.Y. April 12, 2016), Doe v. Washington and

Lee University, No. 14-cv-00052, 2015 WL 4647996 (W.D. Va. Aug. 5, 2015),



2 In Doe v. Univ. of Montana, No. CV 12-77-M-DLC, 2012 WL 2416481 (D. Mont.
2012), the initial pleadings were sealed at the request of the parties. In the action,
Doe only sought injunctive relief to stop the university disciplinary proceedings
against him, which was mooted upon conclusion of the university proceedings. 2012
WL 2416481, at *1. Unpersuaded by Doe’s argument that unsealing the file might
affect any potential related investigation or criminal prosecution of him, the court
decided to unseal the court file while redacting the names of all parties involved in
the disciplinary proceedings, including Doe, and dismiss the case. Id. at *3.

                                         10
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 10 of 24
4812-2876-1209, v. 6
Doe v. University of the South, 687 F. Supp. 2d 744 (E.D. Tenn. 2009),

University of Massachusetts-Amherst, supra, University of South Florida,

supra, and Salisbury University, supra, do not refer to the existence of parallel,

pending, or completed criminal proceedings. The fact that these plaintiffs had

not yet suffered any reputational harm from related proceedings in a public

forum, and that prohibiting the plaintiffs from proceeding anonymously, if they

were successful on the merits of their claims, would cause reputational harm,

seemed to be persuasive to these courts. Here, Plaintiff has not made a similar

showing on either element.

      In The Rector and Visitors of George Mason University, much of the

source of the alleged potential harm derived from the fact that the incident

that was the subject of the litigation was particularly outrageous and had

already been the subject of nationwide media attention. The anonymous

plaintiff was accused of rape during BDSM activities and had issues from his

psychological history, such as carving “kill them” into his knuckles in front of

a residence hall advisor, raised in the proceedings, before the court ruled that

he should remain anonymous. See 149 F. Supp. 3d at 609, 179 F. Supp. 3d at

585. The court also appeared to have been influenced by the fact that the first

panel to hear his case found him not responsible, and that the plaintiff had

already prevailed on a motion for summary judgment. 179 F. Supp. 3d at 593-

94 (“It makes little sense to lift the veil of pseudonymity that—for good


                                       11
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 11 of 24
4812-2876-1209, v. 6
reason—would otherwise cover these proceedings simply because the

university erred…If plaintiff is ultimately found not responsible as to Roe's

new accusations of sexual misconduct, if any, as he was by the first panel to

hear his case with respect to the October 27 incident, then he should not have

his name forever associated in the public mind with an accusation that carries

a significant social stigma.”) Also, in George Mason University, due to the

media’s reporting, “many people across the country [we]re aware of Roe’s

accusations against plaintiff.” Id. at 593. The case of the plaintiff in George

Mason University may be easily distinguished from Plaintiff, who has not

already been the subject of extensive media coverage and has not prevailed on

the merits. In fact, the presumption that proceeding under Plaintiff’s real

name would cause reputational damages rests on the premise that Plaintiff did

not engage in the misconduct charged by Jane Roe and adjudicated against

Plaintiff in the ECU student conduct proceedings and in Pitt County Superior

Court, where Plaintiff initially pled no contest to the charges against him.

      Plaintiff argues, without support, that a “media firestorm” has been

generated over allegations that ECU has not properly handled sexual assault

complaints and would generate attention to Plaintiff, should his name be

revealed in the federal proceedings. (DE 8 at 7). ECU respectfully submits that

no such “media firestorm” exists. The news coverage cited by Plaintiff in the




                                      12
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 12 of 24
4812-2876-1209, v. 6
Complaint dates back to 2015, not to continuing stories or recent coverage. (See

DE 1 ¶¶ 48-67).

      In Yacovelli v. Moeser, No. 1:02CV596, 2004 WL 1144183 (M.D.N.C.

2004), the authority cited by Plaintiff concerning a “media firestorm,” three

students from the entering freshman class at UNC sued anonymously to

challenge the constitutionality of the required reading chosen for the

orientation program: selections from Approaching the Qur’an: The Early

Revelations, a discussion of historical, cultural, and literary aspects of early

writings in the Qur’an. 2004 WL 1144183, at *6. The plaintiffs, one of whom

was a minor at the time of filing, argued that the required reading violated the

Free Exercise Clause and the Establishment Clause of the First Amendment.3

Id. As noted by the Court, the case had received intense media coverage and

garnered a hostile public reaction, quite beyond any coverage of the events in

this subject litigation. See 2004 WL 1144183, at *8. (Anecdotally, anyone living

in North Carolina at the time who was old enough to follow the news would

likely remember the controversy over UNC requiring its incoming freshman

class to read selections from the Qur’an, less than a year after the September

11, 2001 attacks.) The intense media scrutiny cited as a basis for the Court’s




3 The plaintiffs also argued that listening to the CD enclosed with the book, a
recording of selected readings in Arabic, would expose students to “the spell cast by
a holy man of Islam.”

                                         13
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 13 of 24
4812-2876-1209, v. 6
allowing the Yacovelli plaintiffs to proceed anonymously simply does not exist

in this case.

      These privacy-based and corresponding reputation-based interests,

although occasionally held to be a persuasive factor by courts in other cases

where male plaintiffs found responsible for sexual assault were suing their

universities, do not similarly weigh in favor of Plaintiff in this case, as

distinguished above. The remaining factors do not weigh in his favor at all.

         B. Plaintiff has not demonstrated a threat of retaliatory harm to
            himself if he is not permitted to proceed anonymously.

      Plaintiff argues, without support or specificity, that he will be subjected

to “the possibility of acts of reprisal” and “significant harm” if not permitted to

proceed anonymously. (DE 5 at 2, 6). Plaintiff addresses reputational damage

at length in this section, but damage to reputation is not relevant to whether

Plaintiff would experience “retaliatory” harm under this element. This factor

relates to “potential retaliation or harassment if [a plaintiff’s] name is

released,” not “embarrassment or shame.” Doe v. N. Carolina Cent. Univ., 1999

WL 1939248, at *3 (comparing Doe v. Stegall, 653 F.2d 180, 186 (5th Cir. 1981)

(threats of violence, in conjunction with other factors), Doe v. First Nat’l Bank

of Chicago, 668 F. Supp. 1110, 1111 (N.D. Ill. 1987) (individuals became targets

of threatening phone calls and other threats and harassment); see also

Yacovelli, 2004 WL 1144183, at *7 (holding that social ostracism, harassment,



                                        14
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 14 of 24
4812-2876-1209, v. 6
and hostile public reaction, but no threats of violence, did not favor proceeding

anonymously).

      To the extent Plaintiff alleges retaliation from those who know him or

Jane Roe personally, such retaliation is unlikely to occur as a result of this

lawsuit, as Plaintiff’s identity was already known in conjunction with the

criminal proceedings against him, and would have likely been shared by Jane

Roe to those she knew personally. Plaintiff has not alleged any specific sources

from which he believes he faces retaliation or supplied any evidence of

potential harm. Rather, he simply alleges the likelihood of harm in a

conclusory, general sense.

      Plaintiff does not address the anonymity of Jane Roe in arguing this

factor, but it should be a relevant consideration. Defendant respectfully

submits that Jane Roe’s real name should not be used and should be protected

in these proceedings, as she (in contrast to the Plaintiff) has not chosen, in any

way, to be involved in federal litigation. To the extent the presence of Jane

Roe’s name in the criminal record risks her exposure, she has already made

that sacrifice in her efforts to hold Plaintiff accountable. However, in this

litigation, use of Jane Roe’s actual name is unnecessary, and can be prohibited

by entry of a protective order. It is unlikely that any reputable media outlets,

should they conduct further research, would choose to reveal her name in

connection with their reporting, if any. ECU does not wish to see any risk to


                                       15
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 15 of 24
4812-2876-1209, v. 6
Jane Roe arising from use of Plaintiff’s real name, but respectfully submits

that the small risk of exposure has already been undertaken by Jane Roe

herself. This factor does not favor allowing Plaintiff to proceed anonymously.

         C. Plaintiff’s age does not justify proceeding anonymously.

      Plaintiff was an adult in graduate school at the time of the subject

events, which took place three years ago. Courts do not favor pseudonyms for

adults as they do for minor children. Doe v. Cabrera, 307 F.R.D. 1, 7 (D.D.C.

2014) (“Where victims are not minors, courts are generally less inclined to let

the alleged victim proceed in litigation under a pseudonym.”); Doe v. Porter,

370 F.3d 558, 561 (6th Cir. 2004) (district court did not abuse its discretion in

allowing pseudonym where case was “brought on behalf of very young children,

to whom we grant a heightened protection”); Yacovelli, 2004 WL 1144183, at

*7 (citing Doe v. Santa Fe Indep. Sch. Dist., 933 F. Supp. 647, 651-52 (S.D. Tex.

1996) (refusing to protect the identities of adult plaintiffs “who are simply not

as vulnerable as schoolchildren to social and physical intimidation or violence

centered around events at public schools”). Plaintiff was not a minor or recently

out of his minority at the time of the subject events. This factor does not weigh

in favor of allowing Plaintiff to proceed anonymously.

         D. Plaintiff’s claims against both governmental and private parties
            weigh against allowing Plaintiff to proceed anonymously.




                                       16
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 16 of 24
4812-2876-1209, v. 6
      In some cases against governmental parties, plaintiffs are allowed to use

a pseudonym while seeking to have a law or regulation declared invalid,

because these cases “generally ‘involve no injury to the government’s

reputation.’” N.C. Cent. Univ., 1999 WL 1939248, at *4 (quoting S. Methodist

Univ. Ass’n of Women Law Students v. Wynne & Jaffe, 599 F.2d 707, 713 (5th

Cir. 1979)). However, the same interest does not exist where the allegations

would actually impinge upon the reputation of a university, its officials, or its

employees. Id. (“In this case, Plaintiff has made serious allegations against

NCCU and Moore that do impinge upon their reputations… the fact that

NCCU is a state university is insufficient to justify allowing Plaintiff to proceed

anonymously.”) Yacovelli, cited by Plaintiff as favoring his anonymity on this

factor, is distinguishable based upon the same reasoning. 2004 WL 1144183,

at *8 (“Here, Plaintiffs are challenging the constitutionality of UNC's

orientation requirements and not attacking the Chancellor per se.”) Plaintiff

may be challenging ECU’s processes and procedures, but Plaintiff has also

made individual-capacity claims, including allegations of incompetence and

bias, against twelve private persons with professional reputations at stake.

Should Plaintiff’s individual-capacity claims be allowed to proceed past a

motion to dismiss based upon qualified immunity, by definition, the individual-

capacity Defendants’ reputations are at risk by allegations that they knowingly

engaged in unlawful activities. In the cases of the faculty and staff who served


                                        17
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 17 of 24
4812-2876-1209, v. 6
on Plaintiff’s panel, who volunteered their spare time to serve an important

cause at the university unrelated to their jobs, they have now had their

reputations maligned in public filings and have been subjected to potential

individual liability, due to Plaintiff’s claims.

      Of the cases cited by Plaintiff as similar to this case, where the plaintiffs

were permitted to sue anonymously, several were filed against the university

or its board of trustees alone, and not against any private individuals:

University of St. Thomas, supra, University of the South, supra, The Rector and

Visitors of George Mason University, supra, and University of Massachusetts-

Amherst, supra. In Doe v. Salisbury University, supra, while the plaintiff was

allowed to proceed anonymously, employees of the university who were sued

in their individual capacities were also identified by pseudonyms by the

plaintiff. In Yacovelli, supra, Chancellor Moeser was sued in his official

capacity only. Thus, in most of the holdings cited by Plaintiff, the interests of

private individuals were not at issue to weigh against other factors cited by the

plaintiffs.   This   factor   weighs against allowing Plaintiff to proceed

anonymously.

          E. The resulting prejudice to Defendants weighs against allowing
             Plaintiff to proceed anonymously.

      Allowing an anonymous plaintiff to publicly target a private party’s

reputation raises a legitimate concern of prejudice to the private party, as



                                         18
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 18 of 24
4812-2876-1209, v. 6
recognized by the court in Doe v. Fowler, No. 3:17-cv-00730-FDW-DSC, 2018

WL 3428150, at *3 (W.D.N.C. 2018) (“…it would be unfair for her to defend

herself publicly while Plaintiff prosecutes this case anonymously. This

complaint is valid…. However, this case is one of the unique exceptions and is

distinguishable from cases relied on by Defendant where the plaintiff's identity

was already known to the public.”) A uniquely harrowing case, the Fowler

plaintiff alleged that she was extensively sexually abused and exploited by the

named defendants while a minor child, including by creation of pornographic

images of her that were placed online by a defendant and remained there, and

the plaintiff’s identity remained unknown outside the individuals involved in

the dispute. Id. The circumstances in Fowler, where exposure would connect

the plaintiff’s name with online pornographic images of her as a child, was

recognized by the court as “one of the unique exceptions” to the presumption

for open proceedings and disclosure of all parties by name. Such circumstances

are simply not analogous to Plaintiff’s circumstances.

      In Rossley v. Drake University, Case 4:16-cv-00623-RGE-SBJ (S.D. Iowa

June 13, 2017), attached as Exhibit A, a male plaintiff who was the subject of

a university sexual assault investigation was not allowed to proceed

anonymously. (Slip op. at 9). In Rossley, the plaintiff’s father, a university

trustee, had filed a parallel suit discussing the events, not under a pseudonym,

resulting in media attention, some facilitated by direct quotes from the plaintiff


                                       19
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 19 of 24
4812-2876-1209, v. 6
and his own attorneys. (Slip op. at 6-7 (citing “…(‘PR Newswire (Feb. 22,

2017)’) (indicating ‘NEWS PROVIDED BY Nesenoff and Miltenberg, LLP’,

Plaintiff and Rossley’s attorneys’ law firm)”). Separate from the lack of risk of

reputational harm under the circumstances in Rossley, the court held that the

prejudice to the defendants that would result from allowing an anonymous

plaintiff to engage in media attacks weighed against allowing anonymity.

Here, cloaked with anonymity, Plaintiff would be positioned to similarly attack

ECU and the twelve individual Defendants, leading to a similar risk of “harm

from hamstringing Defendants’ ability to manage this case publicly” while

Plaintiff could comment and facilitate media attention to the case. (See slip op.

at 9).

         Moreover, should this case proceed to a jury, a jury could believe that

Plaintiff would not have been allowed to proceed anonymously unless there

was substantial danger to his reputation in having his name made public. This

could lend weight to Plaintiff’s claimed reputational damages, causing further

prejudice to Defendants. Plaintiff alleges already that “[a]s a direct and

proximate result of the above conduct [alleged against Defendants], John Doe

has sustained emotional distress, psychological damages, loss of educational

and career opportunities, reputational damages, economic injuries and other

direct and consequential damages.” (Compl., DE 1 ¶ 197). Allowing Plaintiff to

proceed anonymously poses an additional risk of prejudice to Defendants by


                                        20
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 20 of 24
4812-2876-1209, v. 6
lending credence to Plaintiff’s theory of reputational damage. Altogether, this

factor weighs against allowing Plaintiff to proceed anonymously.

                               CONCLUSION

      Because Plaintiff has not shown that his case is “exceptional” or that he

has a “substantial privacy interest” when weighing the James v. Jacobson

factors against the “constitutionally-embedded presumption of openness in

judicial proceedings,” Plaintiff’s Motion to Proceed Anonymously should be

denied.

      Respectfully submitted, this the 23rd day of October, 2018.

                                    /s/ Dan M. Hartzog Jr.
                                    DAN M. HARTZOG
                                    N.C. State Bar No. 5648
                                    DAN M. HARTZOG JR.
                                    N.C. State Bar No. 35330
                                    KATHERINE BARBER-JONES
                                    N.C. State Bar No. 44197
                                    E-mail: dmh@cshlaw.com
                                             dhartzogjr@cshlaw.com
                                             kbarber-jones@cshlaw.com
                                    CRANFILL SUMNER & HARTZOG LLP
                                    Attorneys for Defendants
                                    Post Office Box 27808
                                    Raleigh, North Carolina 27611-7808
                                    Telephone: 919/828-5100
                                    Facsimile: 919/828-2277




                                      21
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 21 of 24
4812-2876-1209, v. 6
                     CERTIFICATE OF COMPLIANCE

       Pursuant to Local Civil Rule 7.2(f)(4), the undersigned hereby certify and
attest that this Response in Opposition complies with the word count limits set
forth in Local Civil Rule 7.2(f)(2)-(3). Excluding the case caption, the signature
block, any required certificates, any table of contents, any table of authorities,
and any attachments, exhibits, affidavits, and other addenda, the word count
of this Memorandum does not exceed 8,400 words, as computed using the word
count function of the word processing program used to create this
Memorandum.
                                        /s/ Dan M. Hartzog Jr.
                                        /s/ Katherine Barber-Jones




                                       22
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 22 of 24
4812-2876-1209, v. 6
                 UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         EASTERN DIVISION
                   Civil Action No.: 4:18-cv-137-BO


JOHN DOE,                              )
                                       )
                   Plaintiff,          )
                                       )
             v.                        )     CERTIFICATE OF SERVICE
                                       )
EAST CAROLINA UNIVERSITY,              )
et al.,                                )
                                       )
                   Defendants.         )

      I hereby certify that on October 23, 2018, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will

transmit the document to the following counsel of record:

NESENOFF & MILTENBERG, LLP                 WHITE & ALLEN, P.A.
Andrew T. Miltenberg, Esq.                 Matthew S. Sullivan, Esq.
Kara L. Gorycki, Esq.                      106 S. McLewean Street
363 Seventh Avenue, Fifth Floor            P.O. Box 3169
New York, NY 10001                         Kinston, NC 28502
amiltenberg@nmllplaw.com                   msullivan@whiteandallen.com
kgorycki@nmllplaw.com                      Local Civil Rule 83.1 Counsel
Attorneys for Plaintiff John Doe                 for Plaintiff John Doe

      This the 23rd day of October, 2018.

                                     /s/ Dan M. Hartzog Jr.
                                     DAN M. HARTZOG
                                     N.C. State Bar No. 5648
                                     DAN M. HARTZOG JR.
                                     N.C. State Bar No. 35330
                                     KATHERINE BARBER-JONES
                                     N.C. State Bar No. 44197


                                      23
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 23 of 24
4812-2876-1209, v. 6
                                    E-mail: dmh@cshlaw.com
                                             dhartzogjr@cshlaw.com
                                             kbarber-jones@cshlaw.com
                                    CRANFILL SUMNER & HARTZOG LLP
                                    Attorneys for Defendants
                                    Post Office Box 27808
                                    Raleigh, North Carolina 27611-7808
                                    Telephone: 919/828-5100
                                    Facsimile: 919/828-2277




                                      24
           Case 4:18-cv-00137-BO Document 46 Filed 10/23/18 Page 24 of 24
4812-2876-1209, v. 6
